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AO 245B        (Rev. 09/08) Judgment in a Criminal Case
vi             Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                          MIDDLE DISTRICT OF ALABAMA

               UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                   V.                                      )

            BARTOLO RAYMOND HERNANDEZ                                              Case Number: 1:10cr144-02-MHT

                                                                           )       USM Number: 13271-002

                                                                           )        Ben E. Brurier
                                                                                   Dctndant's Attorncy
THE DEFENDANT:
  'pleaded guilty to count(s)           Three and Four of the Indictment on January 18, 2011
LI pleaded nob contendere to count(s)
   which was accepted by the court.
LI was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended             Count



 21 usc 846                          conspiracy to Possess w/Intent to Distribute                             11/19/2009                   3

                                         Methamphetamirie

 21 :841(a)(1)                       Distribution of Methamphetamine (Five Grams or More)                     11/19/2009                   4



LI See additional count(s) on page 2

       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
 Sentencing Reform Act of 1984.
 LI The defendant has been found not guilty on count(s)

 LI Count(s)                                                 LI is   LI are dismissed on the motion of the United States.

          It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           March 30, 2011
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judge


                                                                           MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                            Name of Judge                             TitLe of Judge


                                                                                                       /
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AO 245B         (Rev. 09/08) Judgment in a Criminal Case
vi              Sheet 2 - Imprisonment

                                                                                                                        Judgment Page: 2 of 6
     DEFENDANT: BARTOLO RAYMOND HERNANDEZ
     CASE NUMBER: 1:10cr144-02-MHT


                                                                     IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      86 Months. This term consists of 86 months on count 1 and 86 months on count 2, all such terms to run concurrently.




             The court makes the following recommendations to the Bureau of Prisons:

     The court recommends that the defendant be designated to a facility in which residential drug abuse treatment, vocational
     training and G.E.D. classes are available.



         lVf The defendant is remanded to the custody of the United States Marshal.

         LI The defendant shaH surrender to the United States Marshal for this district:

             U at                                          LI a.m.     UI p.m.      on

             UI as notified by the United States Marshal.

         LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             UI before                   on

             LI as notified by the United States Marshal.

             LI as notified by the Probation or Pretrial Services Office.



                                                                          Ft11*tIII1
     I have executed this judgment as follows:




             Defendant delivered on                                                              to

     a                                                        with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL


                                                                                  By____
                                                                                                        DEPUTY UNITED STATES MARSHAL
                        Case 1:10-cr-00144-MHT-TFM Document 66 Filed 04/05/11 Page 3 of 6


AO 245B            (Rev. 09/08) Judgment in a Criminal Case
vi                 Sheet 3—Supervised Release

                                                                                                                              Judgment Page: 3 of 6
 DEFENDANT: BARTOLO RAYMOND HERNANDEZ
 CASE NUMBER: 1:10cr144-02-MHT
                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

     4 Years. This term consists of 4 years on count 3 and 4 years on count 4, all such terms shall run concurrenUy.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 O The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)

     1      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, f applicable.)

     fl The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, fapplicable.)

     0 The defendant shall participate in an approved program for domestic violence. (Check. f applicable.)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
               The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
     on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
             each month;
       3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
              acceptable reasons;
       6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
              felony, unless granted permission to do so by the probation officer;
      10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
              contraband observed in plain view of the probation officer;
      11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcerrent officer;
      12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
              permission of the court; and

      13)     as directed by the probation officer, the defendant shall noti' third parties of risks that may be occasioned by the defendant's criminal
              record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
              defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09/08) Judgment in a Criminal Case
vi             Sheet3C—SupervisedRelease

                                                                                                           Judgment Page: 4 of 6
 DEFENDANT: BARTOLO RAYMOND HERNANDEZ
 CASE NUMBER: 1:10cr144-02-MHT

                                             SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall participate in a program approved by the U.S. Probation Office for substance abuse for both
     methamphetamine and alcohol, which may include testing to determine whether he has reverted to the use of drugs. The
     defendant shall contribute to the cost of any treatment based on his ability to pay and the availability of third-party
     payments.

     2. The defendant shall not consume alcohol or beer.

     3. The defendant shall submit to search of his person, residence, office and vehicle pursuant to the search policy of this
     court.

     4. The defendant shall participate in G.E.D. classes and take the G.E.D. test.

     5. The defendant shall participate in a vocational training program as designated by his probation officer.
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AO 245B          (Rev. 09/08) Judgment in a Criminal Case
vi               Sheet 5—Criminal Monetary Penalties

                                                                                                                       Judgment Page: 5 of 6
     DEFENDANT: BARTOLO RAYMOND HERNANDEZ
     CASE NUMBER: 1 :10cr144-02-MHT
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                                                       Restitution
 TOTALS                $ 200.00                                         $                                $ 0.00



     D The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

     D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

     Name of Pyee                                                      Total Loss*             Restitution Ordered Priority or Percentage




 TOTALS                                                                                $0.00                   $0.00


 El Restitution amount ordered pursuant to plea agreement $

 E The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 El The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          fl the interest requirement is waived for the          El fine El restitution.
          El the interest requirement for the           El fine El restitution is modified as follows:



 * Findings for the total aimunt of losses are required under Charters I 09A, 110, 11 OA, and Ii 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
vi           Sheet 6— Schedule of Payments

                                                                                                                        Judgment Page: 6 of 6
 DEFENDANT: BARTOLO RAYMOND HERNANDEZ
 CASE NUMBER: 1:10cr144-02-MHT

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $ 200.00                   -   due immediately, balance due

           D not later than                                       , or
           LI in accordance                    C, fl D,         J E, or fl F below; or

 B LI Payment to begin immediately (may be combined with fl C,                         fl D, or      J F below); or

 C    fl Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                      (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    fl Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    L Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
